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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES SOCCER FEDERATION
FOUNDATION, INC., 1140 Connecticut Ave.,               Civil Action No. ________
NW Suite 1200, Washington, DC 20036,

                Plaintiff,

        v.
                                                       COMPLAINT AND
UNITED STATES SOCCER FEDERATION,                       DEMAND FOR JURY TRIAL
INC., 1801 S. Prairie Ave., Chicago, IL 60616,

                Defendant.


       Plaintiff United States Soccer Federation Foundation, Inc., d/b/a U.S. Soccer Foundation

(the “Foundation”), as and for its Complaint against Defendant United States Soccer Federation,

Inc. (the “USSF”), by and through undersigned counsel, hereby alleges as follows:

                                   NATURE OF THE ACTION

       1.       This is a dispute between the USSF and the Foundation over the Foundation’s use

of its name, “U.S. Soccer Foundation.” The Foundation has served as the major charitable arm of

soccer in the United States since 1994. The Foundation’s mission is to enhance, assist and grow

the sport of soccer in the United States, with a special emphasis on children in underserved

communities. For over two decades, the Foundation—and only the Foundation—has used the

“U.S. Soccer Foundation” name and logos to identify it to the public as the source of its goods and

services. During this time, the Foundation has co-existed peacefully with the USSF, which has

pursued its own, distinct mission of developing elite, world-class players, coaches and National

Teams in the United States. But recently, and for the first time in decades, the USSF has threatened

to hijack the Foundation’s trademarks for its own use—likely in an effort to capitalize on lucrative

business opportunities when the United States hosts the World Cup in 2026. The Foundation

brings this lawsuit to protect its rights in its trademarks and their goodwill.
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       2.      The Foundation was created in 1991 so that an independent charitable organization

could manage surplus funds from the 1994 World Cup tournament, held in the United States. Since

the Foundation began its operations, it has had a mission of promoting soccer and healthy lifestyles

for children in underserved communities. In creating easy and affordable access to quality soccer

programs, the Foundation has provided more than $100 million to support soccer programs, to

build soccer fields (or “pitches”) in all 50 states and the District of Columbia, and to distribute

more than one million items of soccer equipment to children in need.

       3.      Since at least 1996, the Foundation has exclusively used in commerce the name

“U.S. Soccer Foundation” and certain logos bearing that name as trademarks (collectively, the

“Foundation Marks” or the “Marks”) to identify the Foundation as the sole source of its goods and

services. The Foundation has invested millions of dollars into building and sustaining substantial

goodwill in the Foundation Marks. In addition, the Foundation has continually used and promoted

the Foundation Marks with the awareness of the USSF, which has made no effort to control or

otherwise interfere with the Foundation’s use of the Marks.

       4.      Notwithstanding that the Foundation has made exclusive use of the Foundation

Marks for more than two decades, the USSF recently has demanded that the Foundation cease

using the signature Foundation Marks. The USSF has never used the Foundation Marks, nor

controlled the Foundation’s use of the Marks; nevertheless, the USSF now demands that the

Foundation cease using the trademarks long associated solely with the Foundation.

       5.      Although the USSF is listed as the owner for certain federal trademark registrations

for the Foundation Marks, both the Foundation and the USSF have shared the understanding that

the Foundation is the actual owner of the Foundation Marks. And even if the USSF now claims




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otherwise, the USSF has unreasonably delayed in challenging the Foundation’s use of the Marks

after decades of the Foundation’s exclusive use of and investment in the Marks.

       6.      The claims asserted in this Complaint arise under the Lanham Act of the United

States, 15 U.S.C. § 1051, et seq., and under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202, and are brought for a declaration by this Court that by using the Marks, the Foundation has

not infringed and is not liable for infringing any of the USSF’s trademark rights because: (i) the

Foundation has superior rights to the Marks; and (ii) in any event, the USSF is barred from any

claim to the Marks by the doctrines of laches, abandonment, acquiescence, waiver, estoppel and

unclean hands, particularly in light of the USSF’s decades-long failure to enforce any purported

rights it now claims to have in the Marks after unjustly inducing the Foundation to invest in them.

In addition: (iii) the trademark register should be rectified such that the Foundation is listed as the

owner of any federal registrations or applications for the Foundation Marks, or those registrations

and applications should be cancelled or denied; and (iv) in the alternative, to the extent that the

USSF claims to have made use of the Marks, such use constitutes unfair or deceptive trade practice

and unjust enrichment.

                                          THE PARTIES

       7.      Plaintiff, the Foundation, is an independent, section 501(c)(3) nonprofit

organization dedicated to enhancing, assisting and growing the sport of soccer in the United States,

with a special emphasis on children in underserved communities, including by providing access to

soccer programs for children living in areas traditionally underserved by the soccer community.

The Foundation is organized under the laws of Delaware and its principal place of business is in

Washington, D.C. It is registered to do business in Washington, D.C. The Foundation has awarded

more than $100 million in grants to non-profit organizations across the country, distributed over

one million items of soccer equipment to children in need, and educated members of Congress on
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the power of using sport as a vehicle to prevent childhood obesity and juvenile delinquency and to

promote mentorship and healthy lifestyles.

       8.      Upon information and belief, Defendant, the USSF, is a section 501(c)(3) nonprofit

organization organized under the laws of New York, with its principal place of business in

Chicago, Illinois.

                                 JURISDICTION AND VENUE

       9.      Jurisdiction is proper in this court because this litigation arises under federal law,

namely 17 U.S.C. § 1051 et seq. (Lanham Act). The Court has jurisdiction over this action under

28 U.S.C. § 1331 (federal question), 28 U.S.C. § 1338(a) (trademarks), and 28 U.S.C. § 2201

(Declaratory Judgment Act). Additionally, this Court has diversity jurisdiction pursuant to 28

U.S.C. § 1332 because the parties are citizens of different states and more than $75,000 is in

controversy.

       10.     Personal jurisdiction over the USSF is proper because the USSF has carried on a

continuous and systematic part of its general business within the District of Columbia, including

but not limited to overseeing and regulating various soccer clubs based within this District, as well

as staging and promoting soccer events in the District. The USSF also maintains a website,

http://www.ussoccer.com, that is accessible and, upon information and belief, has been accessed

in the District for commercial purposes, including some of the USSF’s work within the District.

Additionally, the court has personal jurisdiction pursuant to the District of Columbia long-arm

statute, D.C. Code § 13-423 (2018), because, among other things, the USSF has transacted

business in the District.

       11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and 28 U.S.C.

§ 1391(d).



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       12.     An actual, present and justiciable case or controversy has arisen between the

parties. The USSF has claimed in recent weeks that the USSF is the owner of the name “U.S.

Soccer Foundation”; that the Foundation must cease its use of the Foundation Marks; and that if

the Foundation does not do so, the USSF would initiate legal action. Because the USSF is now

asserting ownership of the Marks and demanding that the Foundation cease use of the Marks or

face legal action, a specific and immediate dispute exists between the Foundation and the USSF.

                                 FACTUAL BACKGROUND

      I.      THE FOUNDATION’S HISTORY, MISSION AND ACHIEVEMENTS

       13.     The Foundation was formed in 1991 to serve as the major charitable organization

of soccer in the United States. The USSF recognized that any surplus funds remaining after the

U.S.-held 1994 World Cup tournament should be managed by a separate, independent entity rather

than the USSF itself. The Foundation was created to serve as that entity.

       14.     The Foundation was inactive until 1994, when it received the surplus funds from

the World Cup tournament, as well as subsequent donations and grants, to fulfill its mission of

assisting underserved communities through soccer-based youth development programs.

       15.     By supporting the development of places to play and learn, the Foundation seeks to

ensure that children in underserved communities have easy and affordable access to quality soccer

programs that support their physical and personal development.

       16.     The Foundation has established programs proven to help children embrace an active

and healthy lifestyle while nurturing their personal growth beyond sports. It has distributed more

than $100 million to support soccer programs and initiatives to build pitches in all 50 states and

the District of Columbia. These programs, which use the Foundation Marks, include:




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               (a)     Soccer for Success, a free after-school program that helps children establish

       healthy habits and develop critical life skills through trained coach-mentors and family

       engagement. Participants learn about eating properly, among other healthy habits, and they

       acquire important decision-making and relationship skills from multiple interactions with

       coach-mentors and peers. Coach-mentors meet with families regularly. The Soccer for

       Success program, which currently enrolls more than 70,000 children, more generally offers

       education, mentorship, and valuable life skills, such as confidence, teamwork and

       perseverance.

               (b)     Safe Places to Play, which transforms underutilized areas, such as

       abandoned courts, empty schoolyards and vacant lots, into soccer pitches. The Foundation

       also awards grants to help communities cover the costs of lighting, irrigation, construction,

       surfacing, and enhancement of their soccer pitches. The Foundation has improved more

       than 1,100 play spaces nationwide.

               (c)     The Passback program collects and redistributes new and gently used

       soccer equipment to kids in underserved communities. The Foundation has collected and

       redistributed more than one million pieces of gently-used and new equipment since the

       program began.

       17.     The Foundation also educates members of Congress about soccer’s power to

promote mentorship and healthy lifestyles for children. For example, the Foundation hosts an

annual Congressional Soccer Match, bringing together members of Congress, Capitol Hill staffers,

and others to compete on the pitch. Additionally, the Foundation helps urban soccer programs

from across the nation develop relationships with their elected leaders and key decision-makers in

Washington, D.C.



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       18.     The Foundation has used the Foundation Marks in connection with its goods and

services since the mid-1990s, including in connection with providing association and other

services to advance and promote interest in the sport of soccer in the United States, and especially

to children in underserved communities.         For example, the Foundation Marks appear on

fundraising material sent to prospective donors; on jerseys worn by children participating in its

programs; at the top of the Foundation’s website and social media pages; on the surface of pitches

across the country; and on numerous other public-facing materials. The Foundation has also

provided Foundation-branded goods such as T-shirts, polo shirts, and sports bags. The Foundation

Marks are also prominently featured in all of the Foundation’s marketing materials.

       19.     Since it began its work, the Foundation has used the Foundation Marks in countless

events and invested millions of dollars to promote the Foundation Marks over the years. The

substantial goodwill the Foundation has built over that time is closely tied to both the “U.S. Soccer

Foundation” name and its associated logos.

       20.     Although the Foundation got its start with the proceeds from the 1994 World Cup

tournament, today it has an active fundraising program that brought in approximately $18 million

from supporters over the past year alone.

       21.     The Foundation is independent of the USSF in mission and in fact.                 The

Foundation’s mission is to enhance, assist and grow the sport of soccer in the United States, with

a special emphasis on children in underserved communities. Today, the Foundation promotes

soccer as a vehicle for social change by nurturing the physical and personal development of

children in underserved communities. In contrast, the USSF acts as the governing body for elite

soccer in the United States, and it focuses on identifying and supporting international-caliber

athletes who play on world-class National Teams. As set forth on the USSF website, its mission



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is “to make soccer, in all its forms, a preeminent sport in the United States and to continue the

development of soccer at all recreational and competitive levels.” The USSF has its own, distinct

charitable arm—the U.S. Soccer Development Fund—which solicits donations to “develop world-

class players, coaches and National Teams that inspire a nation.”

                             II.       THE FOUNDATION MARKS

       22.     While the USSF and the Foundation have shared the understanding that the

Foundation has exclusively used and controlled all aspects of the Foundation Marks, and that the

Foundation is the actual owner of the Marks, the USSF nonetheless has filed applications with the

United States Patent and Trademark Office (“USPTO”) to register certain of the Marks.

       23.     As such, certain Foundation Marks registered with the USPTO list the USSF, and

not the Foundation, as the owner of those registrations:

 Reg. No.         Mark             Reg. Date First Use In     Goods/Services (Int’l Class)
                                             Commerce
 2,327,950 U.S. SOCCER             3/14/2000     1996     Lapel pins of non-precious metal (6)
           FOUNDATION
                                                  1996      Providing services to advance the sport
                                                            of soccer in the United States, namely,
                                                            fund raising, program development,
                                                            grant making, and scholarships (41)

                                                  1996      Association services; namely,
                                                            promoting the interests of member
                                                            soccer clubs, scheduling games and
                                                            promoting interest in soccer;
                                                            information services; namely,
                                                            providing information about the sport
                                                            of soccer (42)
 2,235,888                         3/30/1999      1996      Lapel pins of non-precious metal (6)

                                                  1996      Providing services to advance the sport
                                                            of soccer in the United States; namely,
                                                            conducting workshops, sports clinics,
                                                            and seminars in the field of soccer;
                                                            promoting and staging of athletic
                                                            events; providing sports officiating

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 Reg. No.         Mark         Reg. Date First Use In          Goods/Services (Int’l Class)
                                         Commerce
                                                          services; conducting entertainment in
                                                          the nature of soccer exhibitions and
                                                          games (41)

                                                1996      Association services; namely,
                                                          promoting the interests of member
                                                          soccer clubs, scheduling games and
                                                          promoting interest in soccer;
                                                          information services; namely,
                                                          providing information about the sport
                                                          of soccer (42)
 2,702,785 U.S. SOCCER 4/1/2003                 2001      Folders (16)
           FOUNDATION                           2002      Sports bags (18)
                                                1999      T-shirts, polo shirts (25)
 2,702,781                      4/1/2003        2001      Folders (16)
                                                2002      Sports bags (18)
                                                1999      T-shirts, polo shirts (25)

       24.    In addition, the USSF filed with the USPTO the following application for

registration, listing the USSF, and not the Foundation, as the owner of this Foundation Mark:

   App.          Mark          Filing      First Use In     Goods/Services (Int’l Class)
Serial No.                      Date       Commerce
87/495,842                   6/19/2017         TBD      Lapel pins of non-precious metal (14)

                                              TBD       Folders (16)

                                              TBD       T-shirts, polo shirts (25)

                                              TBD       Association services, namely,
                                                        promoting interest in soccer and the
                                                        interests of member soccer clubs,
                                                        scheduling games and promoting
                                                        interest in soccer (35)

                                              TBD       Providing educational and
                                                        entertainment services to advance the
                                                        sport of soccer in the United States,
                                                        namely, conducting workshops, sports
                                                        clinics, and seminars in the field of
                                                        soccer; promoting and administering of

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   App.            Mark          Filing    First Use In        Goods/Services (Int’l Class)
 Serial No.                      Date      Commerce
                                                          athletic events; providing sports
                                                          officiating services; conducting
                                                          entertainment in the nature of soccer
                                                          exhibitions and games; scheduling
                                                          soccer games; information services,
                                                          namely, providing sports information
                                                          in the field of soccer (41)

         25.     Upon information and belief, the USSF has never—and certainly not within the last

three years—itself used the Foundation Marks in connection with the USSF’s own goods or

services. And although the USSF is listed in the USPTO’s records as the owner of the above

registrations and applications, at no time was the USSF ever the actual owner of the Foundation

Marks.

    III.       THE FOUNDATION’S USE OF THE FOUNDATION MARKS WITH THE
                        USSF’S KNOWLEDGE AND CONSENT

         26.     The Foundation has consistently used the Foundation Marks in commerce—

including the name “U.S. Soccer Foundation” and logos such as            —since at least 1996.

         27.     The USSF has been aware of these uses by the Foundation, but has made no effort

to control the Foundation’s use of the Foundation Marks. To wit, the USSF has not exerted quality

control over the Foundation’s services or goods bearing the Marks, has no agreement with the

Foundation over how the Marks must be used, and has brought no enforcement actions over the

Foundation’s use of or quality standards for the Marks.

         28.     The Foundation not only built goodwill in using the Foundation Marks for decades

in its programs, advocacy, and fundraising, but it also invested decades and millions of dollars

building goodwill value in the Marks. The Foundation Marks are on the uniforms and shirts that

the Foundation gives out to children. They are on the pitches built through the Safe Places to Play

program. They appear on the Foundation’s letterhead, annual report, advertising materials,


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website, and social media accounts. Moreover, the Foundation has enforced the Foundation Marks

against third parties’ uses. During these decades of use by the Foundation, while the USSF and

the Foundation would attempt to cooperate to achieve their respective separate missions, the USSF

neither sought to nor actually did perform any meaningful control over the Foundation’s use of the

Foundation Marks.

       29.     Upon information and belief, from 1996 through 2018, the USSF has made no use

of the Foundation Marks (other than to refer to the Foundation as a separate entity), and only the

Foundation has produced goods and offered services under the Foundation Marks or otherwise

used them in commerce.

       30.     While the USSF is listed as the owner of the above registrations and applications,

both the Foundation and the USSF have had the understanding that the Foundation, not the USSF,

is the actual owner of the Foundation Marks.

       31.     The USSF has itself acted as if it believed the Foundation controlled the Foundation

Marks. For example, in 2009 and 2010, the Foundation awarded grants to the USSF, pursuant to

which the USSF signed grant agreements that required the USSF to “first provide notice to the

Foundation” before it used “a Foundation logo.”

       32.     Notwithstanding the decades of practice and a consistent and uniform course of

dealings, the USSF has recently and abruptly done an about-face, demanding that the Foundation

cease using the Foundation Marks and indicating an intention to use them in the future.

       33.     At a meeting that took place on or about September 11, 2018 between

representatives of the Foundation and the USSF, the USSF refused to confirm that they would not

use the Foundation Marks—including the name “U.S. Soccer Foundation”—in the future for a

foundation of their own. Upon information and belief, the USSF seeks to secure control over the



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Foundation Marks in advance of the 2026 World Cup, which will take place in the United States,

Canada, and Mexico and will entail significant sponsorship and fundraising opportunities tied to

the public awareness and goodwill built upon the Marks.

       34.     At a meeting on or about November 12, 2018 between representatives of the

Foundation and the USSF, the USSF represented that: (i) the USSF is the owner of the name “U.S.

Soccer Foundation”; (ii) the USSF had an interest in using the name “U.S. Soccer Foundation” for

its own services in the future; (iii) the Foundation’s use of the Foundation Marks purportedly had

caused and will cause customer confusion; (iv) the USSF expects the Foundation to stop

identifying itself as the “U.S. Soccer Foundation” and must cease use of the name; and (v) unless

the Foundation signs an agreement to change its name, the USSF would initiate legal action.

                                    CLAIMS FOR RELIEF

                                        CLAIM ONE
                         (Declaratory Judgment of Non-Infringement)

       35.     The Foundation hereby incorporates each and every allegation contained in

Paragraphs 1 through 34 above.

       36.     The Foundation’s use of the Foundation Marks does not infringe any trademark

rights that the USSF claims to have in the Foundation Marks, including because the Foundation is

the owner of the Marks and in any event the Foundation’s use of the Marks is not likely to cause

confusion as to the source, sponsorship or affiliation of its goods or services with the USSF. Thus,

the Foundation’s use of the Foundation Marks does not infringe any purported rights that the USSF

asserts in the Marks.

       37.     An actual, present and justiciable controversy has arisen between the Foundation

and the USSF concerning the Foundation’s right to use the Foundation Marks, and whether the

Foundation’s use of the Marks constitutes trademark infringement. The Foundation and the USSF


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have adverse legal interests. The USSF has represented that it, and not the Foundation, is the

owner of the Foundation Marks, that the Foundation’s use of the Marks has caused and will cause

confusion, and that the USSF will initiate legal action unless the Foundation agrees to cease its

use. The Foundation denies any wrongdoing. The dispute between the Foundation and the USSF

is substantial, definite, immediate and not hypothetical.

       38.     To resolve the uncertainty raised by the USSF, and to afford the Foundation relief

from the uncertainty and controversy that the USSF’s assertions have precipitated, the Foundation

is entitled to a declaratory judgment from this Court that the Foundation has not infringed upon

any of the USSF’s alleged rights in the Foundation Marks.

                                     CLAIM TWO
  (Declaratory Judgment of No Liability for Infringement Due to Laches, Abandonment,
                  Acquiescence, Waiver, Estoppel and Unclean Hands)

       39.     The Foundation hereby incorporates each and every allegation contained in

Paragraphs 1 through 38 above.

       40.     The USSF has been aware of the Foundation’s use of the Foundation Marks since

the Foundation began using them in 1996. In all that time, the USSF has never brought a claim

asserting its ownership of the Foundation Marks or alleging infringement by the Foundation of

those Marks.

       41.     The USSF has performed no meaningful quality control over the Foundation’s use

of the Foundation Marks.

       42.     The USSF has not used the Foundation Marks in commerce.

       43.     The USSF has repeatedly represented to the Foundation that the Foundation

controlled and/or had rights to the Foundation Marks.




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       44.      In reliance on these and other representations, the Foundation has invested more

than two decades and millions of dollars building recognition of and goodwill toward the

Foundation Marks.

       45.      The Foundation would suffer economic prejudice and irreparable economic and

non-economic harm if the USSF were to claim the Foundation Marks as its own, or to claim the

Foundation infringed any purported rights in those Marks, after waiting so long to do so.

       46.      As more than two decades have passed since the Foundation began using the

Foundation Marks, memories have faded and evidence may no longer be available concerning the

ownership, licensing, supervision or control of the Marks. The Foundation would accordingly

suffer trial prejudice if the USSF were to assert infringement claims now.

       47.      The USSF’s delay in claiming rights to the Foundation Marks is not excusable.

       48.      If the USSF were now to assert control over the Foundation Marks and use them

for its own purposes, it would unjustly benefit from the investments that it induced the Foundation

to make in the Marks.

       49.      Upon information and belief, the USSF intentionally relinquished any purported

right to enforce the Foundation Marks. Moreover, the USSF’s actions, and failure to act, led the

Foundation to reasonably believe that the USSF did not intend to enforce any of its purported

rights in the Foundation Marks.

       50.      Thus, an actual, present and justiciable controversy has arisen between the

Foundation and the USSF concerning the Foundation’s right to use the Foundation Marks. The

dispute between the Foundation and the USSF is substantial, definite, immediate and not

hypothetical.




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        51.     To resolve the uncertainty raised by the USSF, and to afford the Foundation relief

from the uncertainty and controversy that the USSF’s assertions have precipitated, the Foundation

is entitled to a declaratory judgment from this Court that the USSF is enjoined from claiming

infringement of the Foundation Marks, and that the Foundation is not liable for any alleged

infringement of the Foundation Marks, based on the doctrines of laches, abandonment,

acquiescence, waiver, estoppel and the USSF’s unclean hands.

                                      CLAIM THREE
 (Rectification of the Register – Federal Registration Nos. 2,327,950; 2,235,888; 2,702,785;
           and 2,702,781 and Application Serial No. 87/495,842, 15 U.S.C. § 1119)

        52.     The Foundation hereby incorporates each and every allegation contained in

Paragraphs 1 through 51 above.

        53.     The Foundation, and not the USSF, is the actual owner of the Foundation Marks.

        54.     The Foundation believes that it will be damaged by the continued registration of

Registration Nos. 2,327,950; 2,235,888; 2,702,785; and 2,702,781, and by the registration of

Application Serial No. 87/495,842, if the USSF continues to be listed as the owner because the

Foundation, and not the USSF, is the actual, valid owner of the Foundation Marks that are the

subjects of those registrations and that application.

        55.     For that reason, the Foundation seeks an Order directing the USPTO to rectify the

register such that either the Foundation is listed as the rightful owner of the registrations and

application identified above and the USSF is removed as the listed owner, or in the alternative,

cancellation of these registrations and denial of this application, on the grounds that: (i) the

Foundation, not the USSF, is the proper owner of the Foundation Marks that are the subjects of

these registrations and that application; (ii) the USSF did not and cannot make the requisite use of

the Marks that are the subjects of the registrations and application; and/or (iii) the registrations and

application have been abandoned by non-use.
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                                      CLAIM FOUR
                   (Unfair or Deceptive Trade Practice, DC ST § 28-3904)

       56.     The Foundation hereby incorporates each and every allegation contained in

Paragraphs 1 through 55 above.

       57.     The Foundation Marks are closely associated with the Foundation. It has used the

Foundation Marks for more than two decades. The Foundation’s charitable programs, advocacy,

and messages are closely associated in the public’s mind with the Foundation Marks.

       58.     As a claim alleged in the alternative, to the extent that the USSF claims to have

made use of the Foundation Marks or substantially similar marks (including, upon information and

belief, reflected in any trademark registration or application documents), such use would

misrepresent a material fact, to the detriment of the Foundation, as to the USSF’s activities and

tend to mislead consumers into believing the Foundation sponsored, approved, or was affiliated

with the USSF’s activities, in violation of District of Columbia law.

                                         CLAIM FIVE
                                      (Unjust Enrichment)

       59.     The Foundation hereby incorporates each and every allegation contained in

Paragraphs 1 through 58 above.

       60.     The USSF has watched over the course of more than two decades as the Foundation

invested significant time and money in building and promoting the Foundation Marks, while the

USSF did little or nothing to assert control over the Marks.

       61.     The USSF has repeatedly represented to the Foundation that the Foundation

controlled the Foundation Marks.

       62.     As a claim alleged in the alternative, to the extent that the USSF claims to have

made use of the Foundation Marks or substantially similar marks (including, upon information and

belief, reflected in any trademark registration or application documents), the USSF would unjustly

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retain the benefits of the Foundation’s investments in the Marks. Due to the USSF’s failure to

control the Foundation Marks and the repeated representations that the Foundation controlled the

marks, such retention of benefits would be unjust.

                                      PRAYER FOR RELIEF

          WHEREFORE, the Foundation prays for judgment in its favor and requests the following

relief:

          1.     Declare that: (i) the Foundation has trademark rights in the Foundation Marks

                 superior to any asserted rights by the USSF; (ii) the Foundation has not infringed

                 upon any of the Foundation Marks; and (iii) the Foundation is not liable for any

                 claim of trademark infringement alleged by the USSF, including based on the

                 doctrines of laches, abandonment, acquiescence, waiver, estoppel and unclean

                 hands;

          2.     Permanently enjoin the USSF from claiming that the Foundation infringed or

                 infringes the Foundation Marks;

          3.     Permanently enjoin the USSF from using the Foundation Marks or any other marks

                 in a manner that would cause a likelihood of confusion with the Foundation Marks;

          4.     Rectification of the register in the form of an Order that the USPTO either: (i)

                 identify the Foundation as the owner of Registration Nos. 2,327,950; 2,235,888;

                 2,702,785; and 2,702,781, and Application Serial No. 87/495,842, and remove the

                 USSF as the listed owner; or (ii) in the alternative, cancel those registrations and

                 that application.

          5.     Award damages to the Foundation for any of the USSF’s unfair or deceptive trade

                 practices and the unjust enrichment the USSF derived from its use of the

                 Foundation Marks or substantially similar marks;
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        6.       Award punitive damages to the Foundation;

        7.       Award the Foundation costs and reasonable attorney fees, including but not limited

                 to those provided pursuant to 15 U.S.C. § 1117 as an exceptional case; and

        8.       Grant such further relief as it deems just and proper.

                                  DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38, the Foundation demands trial by Jury for

all claims triable by jury.


Dated: December 6, 2018                          Respectfully submitted,

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